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 1                                                     THE HONORABLE JAMAL N. WHITEHEAD

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                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 9    PLAINTIFF PACITO; PLAINTIFF ESTHER;                    Case No. 2:25-cv-255-JNW
      PLAINTIFF JOSEPHINE; PLAINTIFF SARA;
10    PLAINTIFF ALYAS; PLAINTIFF MARCOS;                     PLAINTIFFS’ STATUS REPORT
      PLAINTIFF AHMED; PLAINTIFF RACHEL;                     REGARDING THE COURT’S
11    PLAINTIFF ALI; HIAS, INC.; CHURCH                      MARCH 24, 2025 PRELIMINARY
      WORLD SERVICE, INC.; and LUTHERAN                      INJUNCTION
12    COMMUNITY SERVICES NORTHWEST,
13
                            Plaintiffs,
14
                    v.
15
      DONALD J. TRUMP, in his official capacity as
16    President of the United States; MARCO RUBIO,
      in his official capacity as Secretary of State;
17    KRISTI NOEM, in her official capacity as
18    Secretary of Homeland Security; ROBERT F.
      KENNEDY, JR., in his official capacity as
19    Secretary of Health and Human Services,

20                          Defendants.

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22          Shortly after the Court issued its February 25, 2025 preliminary injunction enjoining

23   Defendants from suspending the U.S. Refugee Admissions Program (“USRAP”) and funding to

24   resettlement partners, Defendants began terminating nearly all cooperative agreements with such

25   partners for refugee processing abroad and reception and placement services in the United States.

26   The Court granted Plaintiffs leave to amend, and Plaintiffs thereafter filed a supplemental pleading

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 1   and sought a preliminary injunction of the termination of the cooperative agreements. See Dkt.

 2   Nos. 56–57. On March 24, 2025, the Court issued a second preliminary injunction ordering

 3   Defendants to reinstate the cooperative agreements and enjoining them from enforcing or

 4   implementing any portion of their termination of USRAP-related funding provided through the

 5   cooperative agreements. See Dkt. No. 79 at 35–36. The Court also ordered the parties to submit a

 6   joint status report on April 7, 2025. Counsel for Plaintiffs contacted Defendants’ counsel to

 7   schedule a meet-and-confer to discuss the joint status report; despite initially agreeing, Defendants

 8   canceled the meeting on the basis that it was no longer necessary following Plaintiffs’ filings and

 9   the Court’s order scheduling an emergency hearing. Plaintiffs apologize to the Court for their

10   delayed filing and offer this update as to the status of Defendants’ compliance with the March 24,

11   2025 preliminary injunction.

12          On April 3, 2025, Plaintiffs advised the Court that Plaintiffs Church World Service, Inc.

13   (“CWS”) and HIAS, Inc. (“HIAS”) had received notices that their USRAP-related cooperative

14   agreements would be reinstated upon their consent, but would again be suspended immediately

15   following reinstatement. See Dkt. No. 87. CWS and HIAS have since provided that consent and,

16   on April 4 and April 7 respectively, they received notice from the State Department that it had

17   indeed suspended their USRAP-related cooperative agreements once again.

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